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                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Richard W. Esterkin, SBN 70769
                     2    richard.esterkin@morganlewis.com
                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.            NOTICE OF PAYMENT OF FEES FOR
                                                                  PRO HAC VICE ADMISSION OF NON-
                    16    _______________________________________ RESIDENT ATTORNEY A. KLAIR
                                                                  FITZPATRICK
                    17    Affects:
                          ■ All Debtors                           Judge: The Hon. Julia W. Brand
                    18    □ Scoobeez, ONLY
                          □ Scoobeez Global, Inc., ONLY
                    19    □ Scoobur LLC, ONLY
                    20

                    21             Please take notice that on Thursday, December 12, 2019, counsel for Amazon Logistics,

                    22    Inc., paid the $400.00 fee for pro hac vice admission of attorney A. Klair Fitzpatrick as an

                    23    attorney of record for Amazon Logistics, Inc. [Docket No. 492] A copy of the receipt for same is

                    24    attached hereto.

                    25    ///

                    26    ///

                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                     -1-
 ATTORNEYS AT LAW
                         DB2/ 37959787.1
   COSTA MESA
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                     1    Dated: December 12, 2019                 MORGAN, LEWIS & BOCKIUS LLP

                     2

                     3                                             By:   /s/ Richard W. Esterkin
                                                                             Richard W. Esterkin
                     4
                                                                           Attorneys for Amazon Logistics, Inc.
                     5

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MORGAN, LEWIS &
 BOCKIUS LLP                                                     -2-
 ATTORNEYS AT LAW
                         DB2/ 37959787.1
   COSTA MESA
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                                                              CERTIFICATE        OF SERVICE FORM

                          2                                       FOR ELECTRONIC            FILINGS

                          3             I hereby certify that on December 12,2019, I electronically filed the foregoing document,

                          4    Notice of Payment of Fees for Pro Hac Vice Admission of Non-Resident            Attorney A. Klair

                          5    Fitzpatrick,    with the Clerk of the United States Bankruptcy Court, Central District of California,

                          6    Los Angeles Division, using the CMIECF system, which will send notification of such filing to

                          7    those parties registered to receive notice on this matter.

                          8

                          9
                                                                                       Renee Robles
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MORGAN, LEWIS         &
  BocKIUsLLP                                                               -4-
 ATTORNEYS   AT LAW
                              062/37959787.1
    CC6TAMESA
      Case 2:19-bk-14989-WB                        Doc 498 Filed 12/13/19 Entered 12/13/19 11:08:55                                            Desc
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify):                   Notice of Payment of Fees for Pro Hac Vice
Admission of Non-Resident Attorney A. Klair Fitzpatrick


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 12/12/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                        ~     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)     12/12/2019       , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed       no
                             later than 24 hours after the document is filed.
   Conway MacKenzie, Inc.           Daimler Trust                    Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            clo BK Servicing LLC             10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                    Los Angeles CA 90067
                                    Roseville MN 55113-0011

                                                                                        o     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 andlor controlling LBR, on (date)      12/12/2019      , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        o     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/12/2019         Renee Robles                                                                        ~~
 Date                           Printed Name                                                      Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                  -5-                        F 9013-3.1.PROOF .SERVICE
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JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

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Estates of Scoobeez

and Scoobeez Global, Inc.

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David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

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Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
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IFS_filing@buchalter.com;salarcon@buchalter.com

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Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com



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Steven M Spector on behalf of Creditor Hillair Capital Management LLC
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IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
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Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
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Eric K Yaeckel on behalf of Creditor Arturo Vega
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2:19-bk-14989-WB Notice will not be electronically mailed to:


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Los Angeles, CA 90071

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c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067


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